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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

CANYON SUPPLY & LOGISTICS, LLC, §
                                §
      Plaintiff,                §
VS.                             § CIVIL ACTION NO. 2:13-CV-00066
                                §
MAX FINANCIAL, LLC, et al,      §
                                §
      Defendants.               §

                        ORDER ON MOTION TO REMAND

      Before the Court is Plaintiff’s Motion to Remand (D.E. 11). Plaintiff has sued the

Defendants in connection with the failure to provide promised funding for a commercial

development on waterfront property that was formerly a part of Naval Air Station

Ingleside. Defendants Waller Marine, Inc., Waller Max Gas, LLC, and David Waller

(the Waller Defendants) removed the case to this Court on the bases of: (1) diversity

jurisdiction after disregarding non-diverse defendants under improper joinder principles

(28 U.S.C. § 1332); and (2) bankruptcy-related jurisdiction (28 U.S.C. § 1334). For the

reasons set out below, the bases for removal are rejected and the Motion to Remand (D.E.

11) is GRANTED.

      On a motion to remand, “[t]he removing party bears the burden of showing that

federal jurisdiction exists and that removal was proper.” Maguno v. Prudential Prop. &

Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002). “Any ambiguities are construed against

removal because the removal statute should be strictly construed in favor of remand.” Id.

The strict construction rule arises because of “significant federalism concerns.” See

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generally, Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108-09 (1941).

       The Waller Defendants removed this case without the joinder or consent of any of

the other Defendants. Defendants Max Financial, LLC, Diversity Max, LLC, Diversity

Max Canyon Port, LLC, and Diversity Max CP Holdings were all served by substituted

service on the Texas Secretary of State effectuated in person on February 14, 2013. D.E.

1-4, 7-1. There is no evidence that Defendant Jeffrey Greenwalt has been served to date.

The Waller Defendants are all admittedly non-diverse. D.E. 1, p. 4. Without determining

the other parties’ obligation to consent, the Court observes the unusual posture of this

case in which the parties invoking diversity jurisdiction are the very parties who are not

entitled to it. This Court agrees with the Eastern District of Louisiana that “a non-diverse

defendant who claims to be fraudulently joined may not remove an action to federal

court.” Andrews v. AMERCO, ___ F.Supp.2d ___, 2013 WL 352101, *6 (E.D. La. Jan.

29, 2013). This is consistent with the obligation to construe removal jurisdiction strictly

and to avoid acting without subject matter jurisdiction. Id.

       Even if the Waller Defendants were allowed to assert federal jurisdiction on behalf

of Defendants who have not sought it, they have to show that they, themselves, have been

improperly joined in the case.       The removing party carries a heavy burden when

attempting to prove improper joinder. See Cavallini v. State Farm Mut. Auto Ins. Co., 44

F.3d 256, 259 (5th Cir. 1995). “The removing party must prove that there is absolutely no

possibility that the plaintiff will be able to establish a cause of action against the in-state

defendant in state court, or that there has been outright fraud in the plaintiff's pleading of

jurisdictional facts.” Id.   As Defendants have not asserted outright fraud, the Court
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focuses on the possibility that Plaintiff may establish a cause of action against the

individual Defendants who are admittedly non-diverse.

        Plaintiff’s pleading, in broad and general terms, alleges causes of action against all

of the Defendants for: breach of contract, fraud, fraud by nondisclosure, fraudulent

inducement, statutory fraud, aiding and abetting the commission of the torts alleged, civil

conspiracy, promoter liability, joint enterprise, and theories for piercing the corporate

veils with respect to the subject conduct. D.E. 1-3. Defendants’ claim of improper

joinder is based on two issues: (1) admissions by Plaintiff that it has no contract cause of

action against the non-diverse Waller Defendants; and (2) their argument that Plaintiff’s

specific allegations are only against the diverse Defendants and allegations that merely

lump together multiple defendants are insufficient on which to base liability. D.E. 12,

p. 5.

        With respect to Defendants’ first argument, they have detailed how Plaintiff has

admitted to having no contract claims against the non-diverse Waller Defendants. D.E.

12, pp. 4-5. Even if true, however, that argument does not dispose of the multiple tort

and fraud claims advanced in the pleading. Thus, the contract-based argument does not

compel a finding that the non-diverse Waller Defendants were improperly joined.

        With respect to Defendants’ second argument, the Court acknowledges that the

Plaintiff’s pleading is broad, general, and vague and does not meet federal pleading

standards. Fed. R. Civ. P. 8, 9; Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct.

1955, 1966 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937 (2009). That is not


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the same thing, however, as demonstrating that there is no possibility that Plaintiff can

establish a cause of action against them.

         Specific allegations against one actor, together with allegations such as

conspiracy, can support a cause of action against the others.1 The Waller Defendants

have not met their burden to demonstrate that Plaintiff is without a cognizable cause of

action against them, making their joinder improper. The Waller Defendants are proper

parties and are non-diverse. They have not established that diversity jurisdiction applies.

         The Waller Defendants also removed under bankruptcy jurisdiction, 28 U.S.C.

§ 1334. This action is “related to” the Plaintiff’s bankruptcy proceeding, but does not

“arise under” or “arise in a case” under that Title 11 proceeding. As Plaintiff’s pleading

alleges causes of action only under state law, this Court is compelled to abstain under 28

U.S.C. § 1334(c)(2). Alternatively, this Court abstains under 28 U.S.C. § 1334(c)(1).

         For these reasons, the Court GRANTS Plaintiff’s Motion to Remand (D.E. 11) and

REMANDS this action to the County Court at Law No. 2, Nueces County, Texas, the

court from which it was removed.

         ORDERED this 20th day of May, 2013.


                                                           ___________________________________
                                                           NELVA GONZALES RAMOS
                                                           UNITED STATES DISTRICT JUDGE




1
   Because it is apparent that the liability of the different groups of Defendants do not rise or fall uniformly by the
same application of the law, this is not a case to which Smallwood v. Illinois Central R.R. Co., 385 F.3d 568 (5th Cir.
2004) would apply. Because of the other holdings in this case, the Court declines to reach the question whether the
Smallwood analysis applies when the differentiated defendants are named, but are not before the court.
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